                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            WESTERN DISTRICT OF MISSOURI
                                 CENTRAL DIVISION

UNITED STATES OF AMERICA,                      )
                                               )
                              Plaintiff,       )
                                               )
               v.                              )    No. 10-04036-02-CR-C-NKL
                                               )
CHARITY STEINBRINK,                            )
                                               )
                              Defendant.       )


                           ACCEPTANCE OF PLEA OF GUILTY
                            AND ADJUDICATION OF GUILT

       Pursuant to the Report and Recommendation of United States Magistrate Judge Matt J.

Whitworth, to which no objection has been filed, the pleas of guilty to Counts One and Two of

the Third Superseding Indictment are now accepted. Defendant is adjudged guilty of such

offenses. Sentencing will be set by subsequent order of the court.


                                                     s/ NANETTE K. LAUGHREY
                                                    NANETTE K. LAUGHREY
                                                    United States District Judge

Dated: January 4, 2012




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